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       AMANDA+LAWRENCE




+ Via ECF+


June 12, 2020


The Honorable Chief Judge John R. Tunheim
United States District Court
300 South Fourth Street
Minneapolis, MN 55415


      Re:    In re Cattle Antitrust Litig., No. 19-1222; Peterson, et al. v. JBS USA Food
             Co. Holdings, et al., No. 19-1129

Dear Chief Judge Tunheim:

        We write in relation to the slides submitted by Defendants for the June 8, 2020
hearing, and Plaintiffs’ letter to the Court on the same date. While Plaintiffs thank the
Court for permitting them to submit a letter brief addressing certain of Defendants’ slides,
Plaintiffs confirm that they will not be making further submissions in relation to them as
the issues have been adequately addressed in the papers previously submitted.



                                         Respectfully submitted,
                                         SCOTT+SCOTT ATTORNEYS AT LAW LLP

                                         /s Amanda F. Lawrence

                                         Amanda F. Lawrence
